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IN THE UNITED STATES I)ISTRICT coUR'r 35 AU{; 1 5 PH 3= 33
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é:;r o _i , RICT COURT
STEPHANIE SIMMONS, 1 t F`l .'-.\‘Ef-.l?l“llS
Plaintiff/Counter-Defendant,

No. 04-2075-MIP

ALLSTATE INSURANCE COMPANY,

     
 

_ _ ' fagg S`i.tccmm
Defendant/Counter-Plamtiff, ng;;m[g}y TL]DC-§`»

 

ALLSTATE lNSURANCE COMPANY,

 

 

Petitioner,
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v, No. 04-2075-Ml/P ;C=»: \3
m m
STEPHANIE Sn\`)fMoNS, and 23
WASHINGTON MUTUAL FINANCE GROUP, b
LLC, F/K!A/ WASHINGTON MUTUAL BANK FA ___
'»-' .G
Respondents. § 9

 

MOTION FOR EXTENSION OF TIME

 

COMES NOW the Respondent, Washington Mutuai Fina.nce Group, LLC (“WAMU”)

and moves th1s Court for an Extension of Time To Respond to the Petition for Interpleader In
Support whereof, WAMU states:

l.

There is good cause for the Court to extend WAMU’s time to respond to the Interpleader
2.

WAMU has been conducting an investigation into the facts relevant to 1ts cla1rn or

potential claim to the insurance proceeds

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This document entered on the docket sheet ln compliance
with eula 53 and/or 79(a )FHCP on / 7iJ

 

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3. In order to resolve the issue of WAMU’s potential claim, counsel for WAMU needs to
contact a particular employee of WAMU, and has been unable to do so.

4. Undersigned counsel expects to resolve the issue tomorrow, and needs an extension of
time to file the answer.

5. The requested extension of one week will not prejudice Ms. Simmons. There is a status
conference scheduled for August 25, 2005. If the requested relief is granted, it will not affect the
status conference, as the requested new deadline is August 22, 2005.

6. This motions is timely made, as the due date for the response is the date of this filing.

7. Undersigned counsel certifies that he spoke with Linley Richter, counsel for Ms.

Simmons, and he did not object to the requested relief.

Respectfully submitted,
WYATT, TARRANT & COMBS

  

_ HN WILSON, 111 or z 2-8&
V 1715 Aa.ron Brenner Dr., Suite 800
Memphis, TN 33120-4367

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing has been properly served, via U.S. Mail
postage prepaid, upon Linley Richter, counsel for Ms. Simrnons

§/A§/os""

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This notice confirms a copy of the document docketed as number 32 in
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.1 ohn S. Wilson

WYATT TARRANT & COl\/[BS
1715 Aaron Brenner Dr.

Ste. 800

1\/1emphis7 TN 38120--436

.1 ohnny Quitman Rasberry

LAW OFFICE OF .1 OHNNY RASBERRY
100 N. Main St.

Ste. 2909

1\/lemphis7 TN 38103

Dee ShaWn Peoples

LAW OFFICE OF R. LINLEY RICHTER, IR.
100 N. Main St.

Ste. 2909

1\/lemphis7 TN 38103

R. Linley Richter

LAW OFFICE OF R. LINLEY RICHTER, IR.
100 N. Main St.

Ste. 2909

1\/lemphis7 TN 38103

David 1\/1. Waldrop

HOLLEY WALDROP NEARN & LAZAROV
9032 Stone Walk Place

Germantovvn7 TN 3 8138

Honorable .1 on McCalla
US DISTRICT COURT

